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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
               MARLENA COLVIN                                           Case Number: 2:11CR00295-13


                                                                        Dina Santos, Appointed
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count: 14 of the Indictm ent.
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                           Date Offense           Count
Title & Section                     Nature of Offense                                      Concluded              Number
8 USC 1324(a)(1)(A)(iv),            Conspiracy to Induce and Alien to Enter and            January 2006 to        14
1324(a)(1)(A)(v)(I), and            Rem ain in the United States                           present
1324(a)(1)(B)(I)                    (CLASS C FELONY)




       The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)            and is discharged as to such count(s).

[U]      Count 7 of the Indictm ent is dism issed on the m otion of the United States.

[]       Indictm ent is to be dism issed by District Court on m otion of the United States.

[U]      Appeal rights given.                         []        Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                01/24/2013
                                                                Date of Im position of Judgm ent




                                                                Signature of Judicial Officer

                                                                M ORRISON C. ENGLAND, JR., United States District Judge
                                                                Nam e & Title of Judicial Officer

                                                                02/08/2013
                                                                Date
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DEFENDANT:                  MARLENA COLVIN



                                                           PROBATION

The defendant is hereby sentenced to probation for a term of 36 months.



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall provide the probation officer with access to any requested financial
              information.

         3.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
              treatment program to obtain assistance for drug or alcohol abuse.

         4.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if she has reverted to the use of drugs or alcohol.

         5.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         6.   The defendant shall be monitored for a period of 10 months, with location monitoring
              technology, which may include the use of radio frequency (RF) or Global Positioning System
              (GPS) devices, at the discretion of the probation officer and 30 hours of community service
              during location monitoring as directed by probation officer. The defendant shall abide by all
              technology requirements and shall pay the costs of location monitoring based upon their ability
              to pay as directed by the probation officer. In addition to other court-imposed conditions of
              release, the defendant’s movement in the community shall be restricted as follows:

                           The defendant shall be restricted to her residence at all times except for
                           employment; education; religious services; medical, substance abuse, or
                           mental health treatment; attorney visits; court appearances; court-ordered
                           obligations; or other activities as pre-approved by the probation officer.

         7.   The defendant shall complete 30 hours of unpaid community service as directed by the probation
              officer. The defendant shall pay fees attendant to participation and placement in this program
              on a sliding scale as determined by the program.
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                                        CRIMINAL MONETARY PENALTIES
               The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                          Assessm ent                          Fine                     Restitution
                 Totals:                                   $ 100.00                             $                          $


         []      The determ ination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO
                 245C) will be entered after such determ ination.

         []      The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the
                 am ount listed below.

                 If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
                 paym ent, unless specified otherwise in the priority order or percentage paym ent colum n below. However,
                 pursuant to 18 U.S.C. § 3664(i), all nonfederal victim s m ust be paid before the United States is paid.




         Name of Payee                                    Total Loss*                   Restitution Ordered             Priority or
         Percentage


                 TOTALS:                                      $                                $




         []      Restitution am ount ordered pursuant to plea agreem ent $

         []      The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine
                 is paid in full before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All
                 of the paym ent options on Sheet 6 m ay be subject to penalties for delinquency and default, pursuant to
                 18 U.S.C. § 3612(g).

         [ ]         The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

                 [ ] The interest requirem ent is waived for the             [ ] fine          [ ] restitution

                 [ ] The interest requirem ent for the            [ ] fine   [ ] restitution is m odified as follows:




         []      If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
                 and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

         []      If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per
                 quarter
                 and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
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                                                SCHEDULE OF PAYMENTS


               Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

         A     [ ] Lum p sum paym ent of $            due im m ediately, balance due

                     []      not later than  , or
                     []      in accordance with              [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

         B     [U]           Paym ent to begin im m ediately (m ay be com bined with       [ ] C,   [ ] D, or [ ] F below); or

         C     [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly) installm ents of $   over a period of        (e.g.,
                   m onths or years), to com m ence      (e.g., 30 or 60 days) after the date of this judgm ent; or

         D     [ ] Paym ent in equal      (e.g., weekly, m onthly, quarterly) installm ents of $   over a period of     (e.g.,
                   m onths or years), to com m ence      (e.g., 30 or 60 days) after release from im prisonm ent to a term of
                   supervision; or

         E     [ ] Paym ent during the term of supervised release will com m ence within   (e.g., 30 or 60 days) after
                   release from im prisonm ent. The court will set the paym ent plan based on an assessm ent of the
                   defendant’s ability to pay at that tim e; or

         F     [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




         Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal
         m onetary penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade
         through the Federal Bureau of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the
         court.

         The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties
         im posed.

         []    Joint and Several

         Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint
         and Several Am ount, and corresponding payee, if appropriate:




         []    The defendant shall pay the cost of prosecution.

         []    The defendant shall pay the following court cost(s):

         []    The defendant shall forfeit the defendant’s interest in the following property to the United States:




Paym ents shall be applied in the following order: (1) assessm ent; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
